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[Dntcdfpp] [District Notice of Deficient Filing Post Petition]



                                                    UNITED STATES BANKRUPTCY COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            ORLANDO DIVISION
                                                            www.flmb.uscourts.gov



In re:                                                                                    Case No. 6:18−bk−04572−ABB
                                                                                          Chapter 13
Brandy Nicole Galloway



________Debtor*________/



                                                     NOTICE OF DEFICIENT FILING
                                                AND OPPORTUNITY TO CURE DEFICIENCIES

   On July 30, 2018 the above named Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the date of
this notice unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor fails to
timely correct the noted deficiency.

A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           The initially filed Chapter 13 Plan was filed without indication of being served on all creditors. The
           Debtor is directed to serve a copy of the Chapter 13 Plan upon all creditors and file proof of service
           within 14 days from the date of this notice.



                                                                 FOR THE COURT
              Dated: August 14, 2018                             Sheryl L. Loesch , Clerk of Court
                                                                 George C. Young Federal Courthouse
                                                                 400 West Washington Street
                                                                 Suite 5100
                                                                 Orlando, FL 32801


           The Clerk's office is directed to serve a copy of this notice on interested parties.

           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.
